
Upon consideration of the petition filed on the 1st day of April 2005 by Respondent (Shannon B.) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 4th day of May 2005."
Upon consideration of the petition filed by Respondent (Shannon B.) on the 27th day of April 2005 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 4th day of May 2005."
